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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WISCONSIN


MICHAEL B. KINGSLEY,

                        Plaintiff,
        vs.                                                   Case No. 10-CV-832

FRITZ DEGNER and STAN HENDRICKSON,

                        Defendants.


                           DECLARATION OF ANDREW A. JONES



        I, Andrew A. Jones, declare pursuant to 28 U.S.C. § 1746 and under penalty of perjury

that the following is true and correct:

        1.       I am one of the attorneys for defendants in the above-captioned action.

        2.       I submit this declaration in support of defendants’ motion in limine.

        3.       Attached hereto as Exhibit A is a true and correct copy of the Judgment of

Conviction against plaintiff in Monroe County Case No. 2010-CF-134.

        4.       Attached hereto as Exhibit B is a true and correct copy of the Judgment of

Conviction against plaintiff in Monroe County Case No. 2008-CF-153.

        5.       Attached hereto as Exhibit C is a true and correct copy of the Judgment of

Conviction against plaintiff in Monroe County Case No. 2006-CF-330.

        6.       Attached hereto as Exhibit D is a true and correct copy of the Criminal Complaint

filed against plaintiff on January 4, 2012 in Monroe County Case No. 2012-CF-7.




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        7.       Attached hereto as Exhibit E is a true and correct copy of the Judgment of

Conviction filed against plaintiff on January 31, 2014 in Monroe County Case No. 2012-CF-7.

        Dated this 19th day of January, 2016.

                                                    s/ Andrew A. Jones
                                                    Andrew A. Jones




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